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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY

   CHAMBERS OF                                                                    UNITED STATES DISTRICT COURT
HAROLD A. ACKERMAN                                                                    POST OFFICE BOX 999
   SENIOR JUDGE                                                                   NEWARK, NEW JERSEY 07101-0999




                                                   September 2, 2008


      RE:    United States v. Delle Donna, Criminal No. 07-784

      TO ALL COUNSEL OF RECORD

      Dear Counsel:

               I have received the letter from Mr. Lamparello requesting that Defendants’ travel
      restrictions be amended to allow Defendants to travel to New York City solely for the purposes
      of medical care for David Delle Donna with respect to his recent medical condition. Mr. Delle
      Donna is scheduled to undergo surgery on September 2, 2008, and to remain in the hospital for
      several days. The Government has no objection to Defendants’ request. Through my staff, the
      Court informed Mr. Lamparello’s office that the Court approved Defendants’ request.

              This Letter Order memorializes the Court’s approval. This Court hereby ORDERS that
      Defendants David Delle Donna and Anna Delle Donna be permitted to travel to New York City
      solely for the purposes of medical care associated with his recent medical condition. As stated in
      this Court’s previous Letter Order, the Court expects regular updates on Mr. Delle Donna’s
      condition.




                                                   SO ORDERED


                                                   /s/ Harold A. Ackerman
                                                   U.S.D.J.
